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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION


Mary Stone                                               Case No. 4:23-cv-01138

                    Plaintiff,                           Judge John R. Adams

   v.                                                    Magistrate Judge Carmen E. Henderson

Mahoning County, et al.

                      Defendants.

                                       PLAINTIFF’S STATUS REPORT



         Plaintiff Mary Stone respectfully submits this Status Report in accordance with the Court’s

Case Management Plan (Doc. 9).

   1. Discovery occurred during the reporting report:

                •      On July 31, 2023, Plaintiff served subpoenas upon WFMJ and WKBN for news

                       footage of Rondell Harris’s sentencing hearing. Plaintiff received the requested

                       footage from WKBN on August 7, 2023, and from WFMJ on August 14, 2023.

                •      Plaintiff is finalizing written discovery requests based on Defendant’s Answer to

                       Plaintiff’s First Amended Complaint. Plaintiff anticipates propounding the

                       requests upon Defendants as early as Friday, October 27, 2023, but not later than

                       Tuesday, October 31, 2023.

   2. Settlement discussions occurred during the reporting report:

                •      None.

   3. Motions filed or pending during the reporting period:

                •      None.
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   4. Any other development occurring during the reporting period:

               •   On September 18, 2023, Plaintiff filed her First Amended Complaint with Jury

                   Demand. (Doc. 15).

               •   On October 9, 2023, Defendants filed Defendants’ Answer to Plaintiff’s First

                   Amended Complaint. (Doc. 18).

Dated: October 24, 2023

Respectfully submitted,

/s/ Subodh Chandra                                          /s/ Per Consent
Subodh Chandra (0069233)                                    Martin P. Desmond (0077377)
Donald P. Screen (0044070)                                  Attorney at law
THE CHANDRA LAW FIRM LLC                                    P.O. Box 14052
The Chandra Law Building                                    Youngstown, OH 44514
1265 West 6th Street, Suite 400                             330.559.4505 (p)
Cleveland, Ohio 44113                                       Mpmd4@hotmail.com
216.578.1700 (p) / 216.578.1800 (f)
Subodh.Chandra@ChandraLaw.com                               Attorneys for Plaintiff Mary Stone
Donald.Screen@ChandraLaw.com
